AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



                                        UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                           JUDGMENT IN A CRIMINAL CASE
                                                                                   (For Revocation of Probation or Supervised Release)
          V.                                                                       (For Offenses Committed On or After November 1, 1987)



Michael Alonzo Robinson                                                            Case Num ber: DNCW 198CR000331-002
                                                                                   USM Num ber: 15291-058
                                                                                   Derrick R. Bailey
                                                                                   Defendant’s Attorney

THE DEFENDANT:

X         adm itted guilt to violation of condition(s) 1, 2, 3, 4 and 5 of the term of supervision.
          was found in violation of condition(s) count(s)           after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):


                                                                                                         Date Violation
 Violation Num ber                    Nature of Violation                                                Concluded

 1                                    DRUG/ALCOHOL USE                                                   7/5/2011

 2                                    DRUG/ALCOHOL USE                                                   8/18/2011

 3                                    DRUG/ALCOHOL USE                                                   9/20/2011

 4                                    FAILURE TO REPORT FOR MENTAL HEALTH                                2/28/2011
                                      TREATMENT

 5                                    FAILURE TO MAKE REQUIRED COURT                                     1/28/2012
                                      PAYMENTS



       The Defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

          The Defendant has not violated condition(s)                         and is discharged as such to such violation(s) condition.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.

                                                                                           Date of Im position of Sentence: 5/16/2012




                                                                                            Signed: May 24, 2012


                 Case 1:98-cr-00331-MR-DLH                         Document 114             Filed 05/24/12       Page 1 of 3
AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



Defendant: Michael Alonzo Robinson                                                                      Judgm ent-Page 2 of 3
Case Num ber: DNCW 198CR000331-002

                                                                  IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of Twelve (12) m onths.




X         The Court m akes the following recom m endations to the Bureau of Prisons:


          - Participate in any available substance abuse treatm ent program and if eligible receive benefit of 18:3621(e)(2).
          - Participate in any m ental health treatm ent program s that m ay be available.
          - Support all dependants from prison earnings.

X         The Defendant is rem anded to the custody of the United States Marshal.

          The Defendant shall surrender to the United States Marshal for this District:

                               as notified by the United States Marshal.

                                at___a.m . / p.m . on ___.

          The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                               as notified by the United States Marshal.

                                before 2 p.m . on ___.

                               as notified by the Probation Office.

                                                                        RETURN

          I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.

          __________________________
                                                              ___________________________________________
                    United States Marshal


                                                    By: _______________________________________
                                                                  Deputy Marshal




                 Case 1:98-cr-00331-MR-DLH                         Document 114    Filed 05/24/12   Page 2 of 3
AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



Defendant: Michael Alonzo Robinson                                                                     Judgm ent-Page 3 of 3
Case Num ber: DNCW 198CR000331-002

                                                    STATEMENT OF ACKNOW LEDGMENT

I understand that m y term of supervision is for a period of _______m onths, com m encing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court m ay (1) revoke supervision, (2)
extend the term of supervision, and/or (3) m odify the conditions of supervision.

I understand that revocation of probation and supervised release is m andatory for possession of a controlled substance,
possession of a firearm and/or refusal to com ply with drug testing.

These conditions have been read to m e. I fully understand the conditions and have been provided a copy of them .




(Signed)       ____________________________________ Date: _________________
                Defendant

(Signed)       ____________________________________ Date: _________________
                U.S. Probation Office/Designated W itness




                 Case 1:98-cr-00331-MR-DLH                         Document 114   Filed 05/24/12   Page 3 of 3
